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                                                        Document     Page 1 of 20
B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                                    __________  District
                                                           District       of __________
                                                                    of Alaska


       SERRANO, JASON THOMAS
In re ___________________________________,                                                          13-531
                                                                                          Case No. ___________________
                 Debtor
                                                                                                   13
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $
                                             YES                                  1       225,000.00

 B - Personal Property                                                                $
                                             YES                                  3         19,550.00

 C - Property Claimed
     as Exempt
                                             YES                                  1

 D - Creditors Holding                                                                                      $
     Secured Claims                          YES                                  1                                215,318.00

 E - Creditors Holding Unsecured                                                                            $
                                             YES                                  3                                         0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $
     Nonpriority Claims
                                             YES                                  2                                   6,499.00


 G - Executory Contracts and
     Unexpired Leases
                                             YES                                  1


 H - Codebtors                               YES                                  1

 I - Current Income of                                                                                                              $
                                             YES                                  2                                                         5,444.88
     Individual Debtor(s)

 J - Current Expenditures of Individual      YES                                  3                                                 $       3,283.00
     Debtors(s)

                                          TOTAL                                       $                     $
                                                                                18        244,550.00               221,817.00
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B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                                  __________District
                                                             District   of ______________
                                                                     of Alaska

       SERRANO, JASON THOMAS
In re ___________________________________,                                                         13-531
                                                                                         Case No. ___________________
                 Debtor
                                                                                                  13
                                                                                         Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $          0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $          0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $          0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $     3,682.00

 Domestic Support, Separation Agreement, and Divorce Decree           $          0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $          0.00
 Obligations (from Schedule F)

                                                           TOTAL      $     3,682.00

State the following:
 Average Income (from Schedule I, Line 12)                            $     5,444.88
 Average Expenses (from Schedule J, Line 22)                          $     3,283.00

 Current Monthly Income (from Form 22A Line 12; OR, Form              $     5,982.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                         $           0.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $           0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $           0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                 $      6,499.00

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $      6,499.00
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B6A (Official Form 6A) (12/07)
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       SERRANO, JASON THOMAS
In re _____________________________________________,                                                              13-531
                                                                                                        Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION

  Residence 6185 N. Sitze Rd.                     Owner subject to                                           225,000.00                     215,318.00
  Wasilla, AK 99623                               mortgage




                                                                                 Total
                      225,000.00
                                                                                 (Report also on Summary of Schedules.)
B 6B (OfficialCase
              Form 6B)13-00531
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       SERRANO, JASON THOMAS
In re _______________________________________________,                                                              13-531
                                                                                                          Case No. _________________________
                 Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                   N                                                                          IN PROPERTY, WITH-
          TYPE OF PROPERTY                         O             DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                   N                   OF PROPERTY                                              SECURED CLAIM
                                                   E                                                                             OR EXEMPTION

 1. Cash on hand.                                                                                                                                4,500.00

 2. Checking, savings or other finan-
 cial accounts, certificates of deposit                  CASH IN BANK
 or shares in banks, savings and loan,
 thrift, building and loan, and home-                                                                                                              500.00
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-                                                                                                                    0.00
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer                    HOUSEHOLD GOODS
                                                                                                                                               10,000.00
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                                                                                                                      0.00
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.                                                                                                                                  0.00
 7. Furs and jewelry.                                                                                                                                 0.00
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.                                                                                                                  0.00
 9. Interests in insurance policies.
 Name insurance company of each
 policy and itemize surrender or                                                                                                                      0.00
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                                                                                                                         0.00
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.                                                                                                             0.00
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
B 6B (OfficialCase
              Form 6B)13-00531
                       (12/07) -- Cont.       Doc 16   Filed 12/03/13 Entered 12/03/13 07:10:06         Desc Main
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       SERRANO, JASON THOMAS
In re ______________________________________________,                                            13-531
                                                                                       Case No. _________________________
                 Debtor                                                                                 (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)

                                                                                                      CURRENT VALUE OF
                                                                                                      DEBTOR’S INTEREST
                                                  N                                                   IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O         DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                  N               OF PROPERTY                           SECURED CLAIM
                                                  E                                                      OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.                                                                                     0.00
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                                                                                             0.00
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                                                                                                         0.00

 15. Government and corporate bonds
 and other negotiable and non-
                                                                                                                            0.00
 negotiable instruments.

 16. Accounts receivable.
                                                                                                                            0.00
 17. Alimony, maintenance, support,
 and property settlements to which the
 debtor is or may be entitled. Give                                                                                         0.00
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give                                                                                         0.00
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than
 those listed in Schedule A – Real                                                                                          0.00
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
 benefit plan, life insurance policy, or trust.                                                                             0.00

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated                                                                                    0.00
 value of each.
B 6B (OfficialCase
              Form 6B)13-00531
                       (12/07) -- Cont.       Doc 16   Filed 12/03/13 Entered 12/03/13 07:10:06                       Desc Main
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       SERRANO, JASON THOMAS
In re _________________________________________________,                                                       13-531
                                                                                                     Case No. _________________________
                 Debtor                                                                                               (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)


                                                                                                                     CURRENT VALUE OF
                                                                                                                     DEBTOR’S INTEREST
                                                 N                                                                   IN PROPERTY, WITH-
          TYPE OF PROPERTY                       O          DESCRIPTION AND LOCATION                                 OUT DEDUCTING ANY
                                                 N                OF PROPERTY                                          SECURED CLAIM
                                                 E                                                                      OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.                                                                                                 0.00

 23. Licenses, franchises, and other general
 intangibles. Give particulars.                                                                                                           0.00
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a                                                                                               0.00
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,
 and other vehicles and accessories.                                                                                               4,550.00

 26. Boats, motors, and accessories.
                                                                                                                                          0.00
 27. Aircraft and accessories.
                                                                                                                                          0.00
 28. Office equipment, furnishings,
 and supplies.
                                                                                                                                          0.00

 29. Machinery, fixtures, equipment,
 and supplies used in business.
                                                                                                                                          0.00

 30. Inventory.                                                                                                                           0.00

 31. Animals.                                                                                                                             0.00


 32. Crops - growing or harvested.
 Give particulars.                                                                                                                        0.00

 33. Farming equipment and implements.
                                                                                                                                          0.00

 34. Farm supplies, chemicals, and feed.                                                                                                  0.00
 35. Other personal property of any kind
 not already listed. Itemize.                                                                                                             0.00


                                                                   0
                                                            __________continuation sheets attached     Total
    $                19,550.00
                                                                   (Include amounts from any continuation
                                                                   sheets attached. Report total also on
                                                                               Summary of Schedules.)
B6C (Official Case
              Form 6C)13-00531
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      SERRANO, JASON THOMAS
In re ____________________________________________,                                               13-531
                                                                                        Case No. _________________________
                          Debtor                                                                            (If known)


                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:        G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                          $155,675.*
 ✔ 11 U.S.C. § 522(b)(2)
 G
 G 11 U.S.C. § 522(b)(3)




                                                                                                                         CURRENT
                                              SPECIFY LAW                            VALUE OF                       VALUE OF PROPERTY
  DESCRIPTION OF PROPERTY                   PROVIDING EACH                           CLAIMED                        WITHOUT DEDUCTING
                                               EXEMPTION                            EXEMPTION                           EXEMPTION



  HOMESTEAD                           U.S.C. 522(d)(1)                                           9,682.00                          225,000.00
  EXEMPTION

  1999 DODGE DURANGO                  U.S.C. 522(d)(2)
                                                                                                 3,550.00                             3,550.00


  HOUSEHOLD GOODS                     U.S.C. 522(d)(3)
                                                                                                10,000.00                            10,000.00


  1968 GMC 2500 PICKUP                U.S.C. 522(d)(5)                                           1,000.00                             1,000.00
  NOT RUNNING

  CASH ON HAND AND IN                 U.S.C. 522(d)(5)                                           5,000.00                             5,000.00
  BANK




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B 6D (Official Form 6D) (12/07)

                            SERRANO, JASON THOMAS
                     In re ____________________________________,                                                             13-531
                                                                                                                   Case No. __________________________________
                                        Debtor                                                                                            (If known)

                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

          Ƒ          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                  HUSBAND, WIFE,




 CREDITOR’S NAME AND                                                DATE CLAIM WAS                         UNLIQUIDATED              AMOUNT OF CLAIM                  UNSECURED
                                                                                              CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR




    MAILING ADDRESS                                                    INCURRED,                                                         WITHOUT                      PORTION, IF
                                                    JOINT, OR




INCLUDING ZIP CODE AND                                              NATURE OF LIEN ,                                      DISPUTED   DEDUCTING VALUE                     ANY
  AN ACCOUNT NUMBER                                                       AND                                                         OF COLLATERAL
   (See Instructions Above.)                                          DESCRIPTION
                                                                     AND VALUE OF
                                                                       PROPERTY
                                                                    SUBJECT TO LIEN
ACCOUNT NO. xxxx8898
                                                                    7/1/07 - Mortgage
PennyMac Loan Svcs LLC                                              on Debtor's Home
PO Box 514387                                                       in Wasilla, AK.                                                             215,318.00
Los Angeles, CA 90051
                                                                    VALUE $ 225,000.00
ACCOUNT NO.




                                                                    VALUE $
ACCOUNT NO.




                                                                    VALUE $
____continuation sheets                                             Subtotal Ź                                                       $                            $
     attached                                                       (Total of this page)                                                        215,318.00                         0.00
                                                                    Total Ź                                                          $                            $
                                                                    (Use only on last page)                                                     215,318.00                         0.00
                                                                                                                                     (Report also on Summary of   (If applicable, report
                                                                                                                                     Schedules.)                  also on Statistical
                                                                                                                                                                  Summary of Certain
                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                  Data.)
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B6E (Official Form 6E) (04/13)


          In re SERRANO, JASON THOMAS                             ,                                     Case No. 13-531
                                 Debtor                                                                                     (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

✔ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6E (Official Form 6E) (04/13) – Cont.



 In re SERRANO, JASON THOMAS                                       ,             Case No. 13-531
                              Debtor                                                                (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                           ____ continuation sheets attached
                  Case 13-00531
B6E (Official Form 6E) (04/13) – Cont.
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In re __________________________________________,                                                                 13-531
                                                                                                        Case No. _________________________________
                                 Debtor                                                                                                                (if known)


      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                          (Continuation Sheet)

                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                              HUSBAND, WIFE,

                                                               COMMUNITY




                                                                                                                        UNLIQUIDATED
         CREDITOR’S NAME,                                                      DATE CLAIM WAS                                                         AMOUNT            AMOUNT      AMOUNT




                                                                                                           CONTINGENT
                                                                JOINT, OR
          MAILING ADDRESS                                                       INCURRED AND                                                            OF              ENTITLED       NOT




                                                                                                                                       DISPUTED
        INCLUDING ZIP CODE,                                                    CONSIDERATION                                                           CLAIM               TO       ENTITLED
       AND ACCOUNT NUMBER                          CODEBTOR                       FOR CLAIM                                                                             PRIORITY        TO
         (See instructions above.)                                                                                                                                                 PRIORITY, IF
                                                                                                                                                                                       ANY




 Account No.




 Account No.




 Account No.




 Account No.




 Sheet no. ___ of ___ continuation sheets attached to Schedule of                                              Subtotals
                         $                 $
 Creditors Holding Priority Claims                                                                    (Totals of this page)

                                                                                                                   Total
                         $
                                                                               (Use only on last page of the completed
                                                                               Schedule E. Report also on the Summary
                                                                               of Schedules.)

                                                                                                                   Totals
                                          $              $
                                                                               (Use only on last page of the completed
                                                                               Schedule E. If applicable, report also on
                                                                               the Statistical Summary of Certain
                                                                               Liabilities and Related Data.)
                  Case
B 6F (Official Form         13-00531
                    6F) (12/07)              Doc 16                Filed 12/03/13 Entered 12/03/13 07:10:06                                                   Desc Main
                                                                    Document     Page 12 of 20
       JASON THOMAS SERRANO
In re __________________________________________,                                                                     13-531
                                                                                                            Case No. _________________________________
                        Debtor                                                                                                   (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                      DATE CLAIM WAS                                                                    AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                   CONTINGENT
                                             CODEBTOR




       MAILING ADDRESS                                                       INCURRED AND                                                                       CLAIM




                                                                                                                                               DISPUTED
     INCLUDING ZIP CODE,                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                          CLAIM.
          (See   instructions above.)                                    IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


  ACCOUNT NO.

  MSB Gila Group                                                                                                                                                   760.00
  8325 Tuscany Way
  Austin, TX 78754

  ACCOUNT NO.

  Cornerstone Credit                                                                                                                                                88.00
  1835 Bragaw St.
  Anchorage, AK 99508

  ACCOUNT NO.

  Cornerstone Credit                                                                                                                                               372.00
  1835 Bragaw St.
  Anchorage, AK 99508
  ACCOUNT NO.

  Portfolio Recovery                                                                                                                                               534.00
  120 Corporate Blvd
  Norfolk, VA 23502
                                                                                                                                    Subtotal
             $      1,754.00
    1
  _____continuation sheets attached                                                                                            Total
                     $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
                  Case
B 6F (Official Form         13-00531
                    6F) (12/07) - Cont.       Doc 16               Filed 12/03/13 Entered 12/03/13 07:10:06                                                  Desc Main
                                                                    Document     Page 13 of 20
       JASON THOMAS SERRANO
In re __________________________________________,                                                                     13-531
                                                                                                            Case No. _________________________________
                      Debtor                                                                                                  (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                             (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
      CREDITOR’S NAME,                                                      DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
       MAILING ADDRESS                                                       INCURRED AND                                                                      CLAIM
     INCLUDING ZIP CODE,                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                          CLAIM.
         (See   instructions above.)                                     IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


 ACCOUNT NO.

  Portfolio Recovery                                                                                                                                            1,063.00
  120 Corporate Blvd
  Norfolk, VA 23502

 ACCOUNT NO.

  AK Postsecondary Education                                                                                                                                    3,682.00



 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




             1 of______
 Sheet no.______       1    continuation sheets attached                                                                             Subtotal
           $
 to Schedule of Creditors Holding Unsecured                                                                                                                     4,745.00
 Nonpriority Claims

                                                                                                                              Total
                     $
                                                                                (Use only on last page of the completed Schedule F.)                            6,499.00
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
  Case 13-00531               Doc 16         Filed 12/03/13 Entered 12/03/13 07:10:06                               Desc Main
                                              Document     Page 14 of 20
B 6G (Official Form 6G) (12/07)

In re JASON THOMAS SERRANO                                    ,                    Case No. 13-531
             Debtor                                                                              (if known)


      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no executory contracts or unexpired leases.


         NAME AND MAILING ADDRESS,                                       DESCRIPTION OF CONTRACT OR LEASE AND
             INCLUDING ZIP CODE,                                          NATURE OF DEBTOR’S INTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CONTRACT.                                WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
B 6H (OfficialCase
              Form 6H)13-00531
                       (12/07)          Doc 16        Filed 12/03/13 Entered 12/03/13 07:10:06                              Desc Main
                                                       Document     Page 15 of 20
In re JASON THOMAS SERRANO                                ,                                       Case No. 13-531
               Debtor                                                                                                      (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no codebtors.

               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
                 Case 13-00531             Doc 16         Filed 12/03/13 Entered 12/03/13 07:10:06                           Desc Main
                                                           Document     Page 16 of 20
 Fill in this information to identify your case:

                    JASON                  THOMAS                SERRANO
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                                 District of Alaska District of __________

 Case number          13-531
                     ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form %6I                                                                                     MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
                                         Employment status           ✔
                                                                      Employed                                         Employed
    information about additional
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                     AUTO SALES
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name             ANCHORAGE CHRYSLER
                                                                    __________________________________           __________________________________


                                         Employer’s address          2601 E 5TH AVE
                                                                   _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                     ANCHORAGE AK 99501
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                         How long employed there?         5 MO
                                                                          _______                                  _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       5,500.00
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.            0.00
                                                                                             + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.       5,500.00
                                                                                              $__________            $____________



Official Form %6I                                              Schedule I: Your Income                                                       page 1
                 Case 13-00531                      Doc 16               Filed 12/03/13 Entered 12/03/13 07:10:06                                      Desc Main
                 JASON                   THOMAS
                                                                          Document
                                                                               SERRANO
                                                                                       Page 17 of 20         13-531
Debtor 1          _______________________________________________________                                                Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.        5,500.00
                                                                                                                         $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.          413.06
                                                                                                                        $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.            0.00
                                                                                                                        $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.            0.00
                                                                                                                        $____________            $_____________
     5d. Required repayments of retirement fund loans                                                           5d.            0.00
                                                                                                                        $____________            $_____________
     5e. Insurance                                                                                              5e.         124.06
                                                                                                                        $____________            $_____________
     5f. Domestic support obligations                                                                           5f.            0.00
                                                                                                                        $____________            $_____________

     5g. Union dues                                                                                             5g.            0.00
                                                                                                                        $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                          5h.             0.00
                                                                                                                       + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.          537.12
                                                                                                                        $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.        4,962.88
                                                                                                                        $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.            0.00
                                                                                                                        $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                             382.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.            0.00
                                                                                                                        $____________            $_____________
     8e. Social Security                                                                                        8e.            0.00
                                                                                                                        $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                0.00
                                                                                                                        $____________            $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.            0.00
                                                                                                                        $____________            $_____________
                                         Alaska PFD
     8h. Other monthly income. Specify: _______________________________                                         8h.           100.00
                                                                                                                       + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.          482.00
                                                                                                                        $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                           5,444.88
                                                                                                                        $___________     +                            5,444.88
                                                                                                                                                 $_____________ = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.              0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                           5,444.88
                                                                                                                                                                       $_____________
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
                  Case 13-00531              Doc 16         Filed 12/03/13 Entered 12/03/13 07:10:06                              Desc Main
                                                             Document     Page 18 of 20
  Fill in this information to identify your case:

  Debtor 1           JASON                  THOMAS                SERRANO
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the: ______________________
                                                  District of Alaska District of __________               expenses as of the following date:
                      13-531
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔
                                               Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                     DAUGHTER                                 13               No
                                                                                   _________________________                ________
   names.                                                                                                                                 
                                                                                                                                          ✔    Yes

                                                                                    SON
                                                                                   _________________________                 15
                                                                                                                            ________          No
                                                                                                                                          
                                                                                                                                          ✔    Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form %6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                          1,386.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                     0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                   100.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.                     0.00
                                                                                                                              $_____________________

Official Form %6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 13-00531                Doc 16           Filed 12/03/13 Entered 12/03/13 07:10:06                   Desc Main
                                                                Document     Page 19 of 20
                  JASON                  THOMAS                SERRANO                                             13-531
 Debtor 1        _______________________________________________________                    Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                 5.
                                                                                                                                      0.00
                                                                                                                      $_____________________


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.                  400.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.                   20.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.                  300.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.                    0.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.                   500.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.                    50.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.     $_____________________
                                                                                                                                     35.00
10.   Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      0.00
11.   Medical and dental expenses                                                                              11.                    0.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    320.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.                   50.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.                    0.00
                                                                                                                      $_____________________

15.   Insurance.                                                                                                                                     1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.                   0.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.                  62.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.                  60.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.                   0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                      0.00
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.                    0.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.                    0.00
                                                                                                                      $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.                    0.00
                                                                                                                      $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                      $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted
                                                                                                                18.                    0.00
                                                                                                                      $_____________________
      fromyour pay on line 5, Schedule I, Your Income (Official Form %6I).

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.                    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.                    0.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.                    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.                    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                       0.00
      20e. Homeowner’s association or condominium dues                                                         20e.                    0.00
                                                                                                                      $_____________________



 Official Form %6J                                             Schedule J: Your Expenses                                                   page 2
                 Case 13-00531               Doc 16           Filed 12/03/13 Entered 12/03/13 07:10:06                      Desc Main
                                                               Document     Page 20 of 20
                  JASON                  THOMAS                SERRANO                                               13-531
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.                    0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               3,283.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                     5,444.88
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 3,283.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                     2,161.88
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




 Official Form %6J                                            Schedule J: Your Expenses                                                      page 3
